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                            UNITED STATES DISTRICT COURT
                             FOR THE USDC Northern Indiana
                                FORT WAYNE DIVISION

 United States of America
                                 Plaintiff,
 v.                                                 Case No.: 1:19−cv−00122−HAB−SLC
                                                    Judge Holly A Brady
 Kenneth D. Shull, et al.
                                 Defendant.


                             CLERK'S ENTRY OF DEFAULT



       Default is hereby entered against defendant(s)
                            Bank of America National Association ,
 for failure to plead or otherwise defend as provided by the Federal Rules of Civil
 Procedure 55(a).

 Date: February 24, 2020                      Sincerely,
                                              ROBERT N. TRGOVICH, CLERK



                                              By: s/ Brooke Scheumann
                                                  Deputy Clerk
